Filed 8/23/24 In re A.M. CA4/2

                      NOT TO BE PUBLISHED IN OFFICIAL REPORTS
 California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
                                     or ordered published for purposes of rule 8.1115.


            IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                   FOURTH APPELLATE DISTRICT

                                                 DIVISION TWO



 In re A.M., a Person Coming Under the
 Juvenile Court Law.

 RIVERSIDE COUNTY DEPARTMENT
 OF PUBLIC SOCIAL SERVICES,                                              E083369

          Plaintiff and Respondent,                                      (Super.Ct.No. DPRI2300174)

 v.                                                                      OPINION

 J.M.,

          Defendant and Appellant.



         APPEAL from the Superior Court of Riverside County. Dorothy McLaughlin,

Judge. Dismissed.

         Linda Rehm, under appointment by the Court of Appeal, for Defendant and

Appellant.

         Minh C. Tran, County Counsel, Teresa K.B. Beecham and Catherine E. Rupp,

Deputy County Counsel, for Plaintiff and Respondent.




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       Defendant and appellant, J.M. (Mother), appeals from the trial court’s order that

authorized termination of jurisdiction by ex parte. For the reasons set forth post, we

dismiss the appeal.

                       FACTUAL AND PROCEDURAL HISTORY

       On April 19, 2023, the Riverside County Department of Public Social Services-

Children’s Services Division (the Department) received a referral alleging that A.M. (a

boy, born April 2023; Minor) was a victim of general neglect by his parents.

       Mother’s mental health history included bipolar disorder, attention deficit

hyperactive disorder, and obsessive-compulsive disorder.

       On May 18, 2023, the department removed Minor from Mother’s care and

custody. Mother failed to follow the agreed-upon parameters of the safety plan, her

unaddressed mental health issues placed Minor’s safety in jeopardy, she declined the

department’s attempts to engage the extended family with a safety plan to secure Minor

in the home, and changed her mind about getting an emergency psychiatric screening.

Social workers and law enforcement went to the home and gave Mother notice of the

detention hearing.

       On May 22, 2023, the Department filed a juvenile dependency petition pursuant to

Welfare and Institutions Code1 section 300, subdivision (b), on behalf of Minor alleging

that Mother had unresolved mental health issues and failed to obtain regular treatment to

address her mental health needs. The petition further alleged that Mother had a history


       1 All further statutory references are to the Welfare and Institutions Code unless
otherwise indicated.

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with San Bernardino Child Protective Services as to a half-sibling X.M., due to substance

abuse issues and untreated mental health issues. Mother failed to reunify with X.M., her

parental rights were terminated, and a permanent plan of adoption was established.

Finally, the petition alleged deplorable conditions of the family’s home.

       On May 23, 2023, at the detention hearing, the Juvenile Court found J.Q. (Father)2

to be Minor’s presumed father, detained Minor from Mother, and ordered Minor remain

with Father. Mother was to have supervised visits for two hours per week. The court

also issued a temporary restraining order protecting Father and Minor from Mother.

       Mother moved to Idaho from California on May 26, 2023. Mother missed two

visits in mid-July; on July 19, 2023, Father informed the Department that Mother called

him from a jail in Idaho. She was arrested for a DUI.

       On July 26, 2023, the Juvenile Court held the jurisdiction/disposition hearing.

Mother remained in custody in Idaho. The court sustained the petition, declared Minor a

dependent, found clear and convincing evidence of the circumstances stated in section

361 regarding Mother, and removed physical custody from Mother. The court denied

reunification services to Mother. Physical custody was retained by Father and he was

ordered to participate in family maintenance services.




       2 Father is not a party to this appeal.



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       The six-month family maintenance review hearing was held on January 29, 2024.

The court adopted the recommendations contained in the Department’s report and

authorized early termination of dependency by way of ex parte prior to the maintenance

review hearing set for July 29, 2024, dependent upon case plan compliance and progress.

       On February 28, 2024, the court accepted Mother’s requested substitution of

attorney and addressed other issues. Mother “vehemently” objected to the authorization

to close the case ex parte. The court was inclined to reconsider the authorization, but

believed doing so sua sponte at the hearing would be “problematic from a due process

standpoint.”

       Mother filed a notice of appeal on February 28, 2024.

                                      DISCUSSION

       Mother argues “insufficient evidence supported the court’s authorization to

terminate jurisdiction by ex parte prior to the scheduled section 364 hearing.” The

Department argues the issue is not ripe; Mother has no standing because she has not been

injured; and, alternatively, that abuse of discretion is the proper standard of review. We

agree with the Department.

       A.      RIPENESS

       “Ripeness is one facet of the prudential doctrine of justiciability. As a general rule

courts decide only justiciable controversies. [Citation.] “ ‘A controversy is ‘ripe’ when it

has reached, but has not passed the point that the facts have sufficiently congealed to

permit an intelligent and useful decision to be made.’ ” [Citation.] The ripeness

requirement prevents courts from issuing purely advisory opinions. [Citation.] It is


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founded on “the recognition that judicial decision-making is best conducted in the context

of an actual set of facts so that the issues will be framed with sufficient definiteness to

enable the court to make a decree finally disposing of the controversy.’ ” (In re M.F.

(2022) 74 Cal.App.5th 86, 106.)

       Mother is correct that “[i]ssues related to custody and visitation are relevant to

potential exit orders pursuant to sections 364 and 362.4, and a parent has a due process

right to a hearing on those issues.” However, Mother does not come before this court

having been denied such a hearing. Mother’s “vehement” objection to the authorization

was made orally in open court. The court was receptive, but explained that “it’s not a ripe

issue because there’s been no request,” and noted “for the future that [Mother’s attorney]

is objecting on her client’s behalf.” The court stated that it was “inclined to reconsider”

the authorization. Neither Minor’s nor the Department’s counsel took issue with the

objection, and Minor’s counsel even offered a remedy: “[W]hen they do propose the ex

parte, they can object and request a hearing. That’s always one of the responses that we

are able to provide.” Mother’s counsel then agreed with the suggestion, replying,

“Absolutely, Your Honor.” Counsel for the Department also agreed, stating, “It will not

go silently in the background.” As of the filing of Mother’s reply brief on July 1, 2024,

the Department has not filed a request to close the case ex parte and the mere

authorization to do so has not given rise to sufficient facts for a justiciable controversy.

As such, the controversy is not ripe for review.




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       B.     STANDING

       “Not every party has standing to appeal every appealable order. Although

standing to appeal is construed liberally, and doubts are resolved in its favor, only a

person aggrieved by a decision may appeal.” (In re K.C. (2011) 52 Cal.4th 231, 236.)

“ ‘To be aggrieved, a party must have a legally cognizable immediate and substantial

interest which is injuriously affected by the court’s decision. A nominal interest or

remote consequence of the ruling does not satisfy this requirement.’ [Citation.] . . . . A

parent’s interest is in reunification and in maintaining a parent-child relationship.’ ”

(In re Holly B. (2009) 172 Cal.App.4th 1261, 1265.)

       Mother cites no legally cognizable immediate and substantial interest that has been

injuriously affected by the court’s authorization for early termination of dependency via

ex parte. Mother’s argument is conclusory, simply stating, “[her] interests were then

injuriously affected” because the authorization “allowed for imminent exercise” of the

request for ex parte termination. Further, Mother’s argument is not aided by the fact that

her “trial counsel understood from County Counsel that the department might then

already be seeking an ex parte request to terminate jurisdiction.” The “might” contained

in this statement is particularly pertinent here. Mother cannot demonstrate that her

interest in reunification and maintaining a parent-child relationship has been injured.

Consequently, Mother has not been aggrieved and thus does not have standing to

challenge the authorization.




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                                      DISPOSITION

      The appeal is dismissed.

      NOT TO BE PUBLISHED IN OFFICIAL REPORTS


                                                    MILLER
                                                             J.


We concur:


RAMIREZ
                             P. J.


RAPHAEL
                                 J.




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